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                    BEFORE THE UNITED STATES JUDICIAL
                    PANEL ON MULTIDISTRICT LITIGATION

      IN RE: ORAL PHENYLEPHRINE MARKETING AND SALES PRACTICES
                                    LITIGATION:
                                    MDL No. 3089

                             SCHEDULE OF ACTIONS


1. Sharon Rourk v. Haleon, PLC - District of New Jersey, 3:23-cv-20478

2. Cathy Kleinman v. Bayer Health Care, LLC – District of New Jersey, 2:23-cv-20480

3. Kristin Lawrence v. Johnson & Johnson Consumer, Inc. – District of New Jersey, 3:23-
   cv-20551

4. Annette Striegel v. RB Health (US), LLC – District of New Jersey, 2:23-cv-20552

5. Kamonica McWhite-York v. Johnson & Johnson Consumer, Inc. – District of New
   Jersey, 3:23-cv-20379

6. Pamela Joyner v. Johnson & Johnson Consumer, Inc. – District of New Jersey – 3:23-
   cv-20558
